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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  SECURITIES AND EXCHANGE
  COMMISSION,

                          Plaintiff,

              -against-

  RICHARD XIA, a/k/a YI XIA; and
  FLEET NEW YORK METROPOLITAN
  REGIONAL CENTER, LLC, f/k/a FEDERAL               21 Civ. 5350 (PKC) (JAM)
  NEW YORK METROPOLITAN REGIONAL
  CENTER, LLC,

                          Defendants,

              -and-

  JULIA YUE, A/K/A JIQING YUE; XI VERFENSTEIN;
  and XINMING YU,

                          Relief Defendants.




PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S MEMORANDUM OF LAW
     IN SUPPORT OF ITS UNOPPOSED MOTION REQUESTING APPROVAL OF
 A PROPOSED SETTLEMENT WITH DEFENDANT RICHARD XIA AND FLEET NEW
YORK METROPOLITAN REGIONAL CENTER AND RELIEF DEFENDANT JULIA YUE
  AND ENTRY OF AN ORDER APPPOINTING A DISTRIBUTION ADMINISTRATOR
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        Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this

 memorandum of law in support of its unopposed motion requesting that the Court approve the

 proposed consent settlement (“Consent”) with defendants Richard Xia and Fleet New York

 Metropolitan Regional Center, LLC (“Fleet,” collectively with Xia, “Defendants”) and relief

 defendant Julia Yue (“Yue”), enter the Proposed Final Judgment that reflects the terms of the

 Consent, and enter the Proposed Order Appointing a Distribution Administrator that appoints

 Robert Seiden of Seiden Law LLC to serve as a distribution administrator.1 Defendants and

 Yue do not object to Mr. Seiden’s appointment.

                                         BACKGROUND

        The SEC filed the Complaint in this action on September 27, 2021, against Defendants

 and relief defendant Yue. (ECF No. 1.) The Complaint alleged that between 2010 and 2017,

 Defendants raised $228,500,000 from more than 450 Chinese investors (“EB-5 Investors”)

 through five limited partnerships, based on materially false and misleading statements. The

 fundraises were purportedly to construct two real estate projects (“Projects”) related to the EB-5

 program administered by the U.S. Citizenship and Immigration Services (“USCIS”). (See

 generally id.) On September 27, 2021, the Court also granted the SEC’s motion for a temporary

 restraining order freezing Defendants’ and Yue’s assets and appointed a Monitor to oversee and

 approve the use of any frozen assets. (See ECF Nos. 11, 12.)

        The SEC amended its Complaint on April 6, 2022, adding two relief defendants. (See

 ECF No. 98 (“AC”).) On December 8, 2022—following a show-cause hearing that occurred on

 February 14, 15, and 16, 2022—the Court entered an order imposing a preliminary injunction


 1
   The Consent is filed as Exhibit A (“Ex. A”), the Proposed Final Judgment is filed as Exhibit B
 (“Ex. B”), and the Proposed Order Appointing a Distribution Administration (“Proposed
 Distribution Administrator Order”) is filed as Exhibit C (“Ex C.”).

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 against Defendants and the three relief defendants (“Preliminary Injunction”). See SEC v. Xia, et

 al., No. 21-cv-5350 (PKC) (RER), 2022 WL 17539124 (E.D.N.Y. Dec. 8, 2022) (“P.I.

 Opinion”). Among other things, the Preliminary Injunction continued the freeze of all assets in

 Defendants’ names, including nearly $80 million in investor funds in bank accounts in the names

 of Defendants and Defendants’ entities, to ensure that, upon resolution of this matter, assets are

 available to repay the defrauded EB-5 Investors. See generally P.I. Opinion, 2022 WL

 17539124; see also ECF No. 18 (“A Report to the Court Pursuant to Paragraph 11(b) of the

 Monitor Order”) at 14 (detailing funds in bank accounts frozen under the Preliminary

 Injunction).

        The EB-5 Investors’ financial interests are not the only interests implicated by

 Defendants’ alleged fraud. In addition to seeking a financial return on their investment, the EB-5

 Investors also seek to be approved for permanent residency by USCIS in connection with that

 investment. See P.I. Opinion, 2022 WL 17539124 at *19-20. One of the prerequisites for such

 approval relevant here is the requirement that an EB-5 Investor’s financial investment remain “at

 risk” until the investor has been approved for permanent residency—i.e., in order for an EB-5

 Investor to be eligible for permanent residency, the EB-5 Investor’s invested principal generally

 cannot be returned to the investor before USCIS approves the investor for permanent residency.

 Certain of the EB-5 Investors have not yet received permanent residency status and wish to

 pursue that status if possible. Those investors may not want their investment returned at this

 time so that they can attempt to remain eligible within the EB-5 program. Other EB-5 Investors

 have already obtained permanent residency and want their investment returned. Still other EB-5

 Investors have not yet been approved for permanent residency but no longer wish to pursue that

 status and also want their investment returned. Accordingly, the terms of the parties’ settlement



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 detailed below include a process by which a Court-appointed distribution administrator will

 determine each EB-5 Investor’s preference concerning remaining in the EB-5 program and the

 return of their invested funds, and the distribution administrator will take steps, to the extent

 practicable and consistent with the laws governing the EB-5 program, to implement each EB-5

 Investor’s preference.

                                TERMS OF THE SETTLEMENT

        The SEC, Defendants, and Yue have agreed to a settlement that, if approved, would

 resolve all the SEC’s claims against Defendants and Yue.

        Under the settlement, Defendants have agreed to three injunctions. (Ex. A ¶¶ 2(a), (b);

 Ex. B at I-III.) First, Defendants have agreed that they shall be permanently enjoined from

 future violations of the federal securities laws alleged in the Amended Complaint. (Ex. A.

 ¶ 2(a); Ex. B at I.) Next, Fleet has agreed that it shall be permanently enjoined from

 participating in any future securities offering. (Ex. A. ¶ 2(b); Ex. B at II.) Finally, Xia has

 agreed that he shall be permanently enjoined from participating in any future securities offering,

 except that he shall not be enjoined from either (i) trading for his own account, or (ii) raising

 money, in offerings unrelated to the EB-5 program, only from persons or entities meeting the

 definition of “accredited investor” or “qualified purchaser.” (Ex. A. ¶ 2(b); Ex. B at III.)

        Defendants have also agreed to three forms of monetary relief. (Ex. A ¶ 2(c); Ex. B at

 IV.) First, Defendants have agreed to pay a total of $228,500,000 in disgorgement, for which

 they shall be jointly and severally liable. This is equal to the total amount of principal invested

 by the EB-5 Investors with Defendants. (Id.) Second, Defendants have agreed to pay a total of

 $25,000,000 in pre-judgment interest on the disgorgement amount, for which they shall also be

 jointly and severally liable. (Id.) Relief Defendant Yue has agreed to be jointly and severally



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 liable with Defendants for $14,000,000 of the disgorgement amount and $720,000 of the pre-

 judgment interest amount (id.), which, together, equals the amount of the EB-5 Investor funds

 that Xia improperly used to purchase the Kings Point mansion in Yue’s name. (See AC ¶ 20, 96,

 165, 167-175) (alleging that Xia improperly used investor funds—all of which are ill-gotten

 gains—to purchase mansion in Long Island in Yue’s name).) Third, Defendants have each

 agreed to civil money penalties—Xia shall pay a civil penalty of $3,101,745 and Fleet shall pay a

 civil penalty of $15,538,635. (Ex. A ¶ 2(c); Ex. B at IV.)

        Thus, the total monetary relief under the settlement is $272,140,380 plus any post-

 judgment interest. Under the settlement terms, this amount will be paid in two steps. (Ex. A

 ¶¶ 2(d)(i)-(ii); Ex. B at V(a)-(b).) The first payment shall consist of $42,500,000, which will be

 made using funds currently held in accounts in Defendants’ names that remain frozen under the

 Preliminary Injunction. (Ex. A ¶ 2(d)(i); Ex. B at V(a).) On a motion by the SEC, those funds

 will be unfrozen and paid into the Court Investment Registry System (“CRIS”) in partial

 satisfaction of the $228,500,000 in disgorgement owed. (Id.)

        The second payment—consisting of $229,640,380 plus post-judgment interest—shall be

 paid by Defendants (and Yue to the extent jointly and severally liable) into the CRIS within 245

 days of the Court’s entry of the final judgment. (Ex. A ¶ 2(d)(ii); Ex. B at V(b).) Defendants

 and Yue have agreed that the Preliminary Injunction and the Order Appointing Monitor (ECF

 No.11-1) shall each remain in effect until the total amount owed under the final judgment is

 paid.2 (Ex. A ¶¶ 2(e), (g); Ex. B at V.) As discussed below, all funds paid into the CRIS will be


 2
   As protection against Defendants’ possible non-payment of the full judgment amount, Xia and
 Yue have conveyed mortgages to the Projects and the Kings Point mansion to the SEC in an
 amount equal to any final judgment ordered by the Court. See Ex. A at 3(a). If Defendants fail
 to timely pay the full judgment amount, then the SEC may exercise its rights under the
 mortgages to satisfy the full judgment amount.

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 distributed pursuant to a Court-approved distribution plan, including potential distributions to the

 EB-5 Investors, on a pro rata basis, up to the total amount that each EB-5 Investor paid to

 Defendants.3

        Finally, the settlement includes, as equitable relief, the appointment of a distribution

 administrator, intended to preserve the rights of the EB-5 Investors in the EB-5 program. (See

 generally Ex. C.) As set forth in the Proposed Distribution Administrator Order, the distribution

 administrator will have the following primary responsibilities:

                (i)     to draft and propose to the Court a distribution plan that includes a process
                        for the EB-5 Investors to elect whether they want to receive a pro rata
                        share of the funds to be distributed to investors or, alternatively, whether
                        they want to attempt to remain in the EB-5 program to continue to pursue
                        permanent residency status (id. ¶¶ 5, 8-11);

                (ii)    to notify the EB-5 Investors of the settlement and of their options to elect
                        to receive a pro rata share of the funds to be distributed to investors or,
                        alternatively, to attempt to remain in the EB-5 program to continue to
                        pursue permanent residency status (id. ¶ 12);

                (iii)   to the extent that EB-5 Investors elect to receive a pro rata share of the
                        funds to be distributed to investors, to distribute those funds to the EB-5
                        Investors making that election (id. ¶ 14);

                (iv)    to the extent that EB-5 Investors elect to attempt to remain in the EB-5
                        program, to implement the portion of the distribution plan allowing for
                        such an election (id.); and

                (v)     to answer EB-5 Investor questions regarding the distribution process (id.
                        ¶ 13).

        If an EB-5 Investor seeks to remain in the EB-5 program, then the Proposed Distribution

 Administrator Order limits where within the EB-5 program that investor may elect to direct a pro

 rata share of the funds to be distributed to investors. (See id. ¶¶ 8-10.) An EB-5 Investor may


 3
   While this settlement does not include the two other relief defendants, Xi Verfenstein and
 Xinming Yu, or the SEC’s claims against them, if Defendants and Yue timely pay the final
 judgment in full, then the SEC intends to voluntarily dismiss its claims against those two relief
 defendants.

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 only elect to direct a pro rata share of the funds to be distributed to investors to the five limited

 partnerships associated with Fleet (and the Projects) if Fleet first meets certain conditions. This

 includes that Xia has relinquished ownership of Fleet, Fleet’s new owner has filed an application

 with USCIS requesting designation of Fleet as a regional center in the EB-5 program, and USCIS

 has approved that application and has not taken any adverse action as to Fleet, such as

 termination. (Ex. A ¶¶ 2(i), 3(c); Ex. C ¶ 8.) These terms are intended to ensure that, before any

 EB-5 Investor money is placed with limited partnerships managed by Fleet, Xia is no longer

 associated in any way with Fleet, a new fiduciary owns Fleet and is responsible for the limited

 partnerships, USCIS has reviewed Fleet’s plans under its new ownership, and USCIS has

 determined that Fleet may continue to operate in the EB-5 program under that new ownership in

 support of investors seeking permanent residency.

        The Proposed Distribution Administrator Order also requires that the distribution plan

 provide EB-5 Investors with an option to elect to direct their pro rata share of disgorgement and

 pre-judgment interest to an EB-5 project other than those associated with Fleet, to the extent

 that is permissible under the laws governing the EB-5 Program.4 (Ex. C. ¶¶ 9-10.)




 4
   Under a March 2022 amendment to the Immigration and Nationality Act, which governs the
 EB-5 program, investors associated with an EB-5 regional center that is “terminated” by USCIS
 may have the right, following such termination of the regional center, to move their investment
 to another regional center. See 8 U.S.C. § 1153(b)(5)(M)(ii). Thus, if USCIS terminates Fleet
 from the EB-5 program, then the EB-5 Investors may have the right to direct that a pro rata share
 of disgorgement and pre-judgment interest be moved to a regional center other than Fleet and to
 pursue residency status in connection with that regional center. Since this amendment was
 enacted in March 2022, USCIS has terminated few, if any, regional centers, and the exercise of
 investor rights under this amendment may be an issue of first impression. Because the process
 for exercising these rights is somewhat uncertain, the distribution administrator will need to
 consider how to navigate that process in devising and implementing the distribution plan and the
 Proposed Distribution Administrator Order is intended to provide the distribution administrator
 with the power and flexibility to do so.

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                      PROPOSED DISTRIBUTION ADMINISTRATOR

        The Proposed Distribution Administrator Order proposes that Robert Seiden, the

 managing partner of Seiden Law LLC, act as distribution administrator. (Id. ¶ 2.) Defendants

 and Yue do not object to Mr. Seiden’s appointment. The SEC conducted a diligent search for a

 person and firm with the skill and experience required to perform the necessary duties of a

 distribution administrator in this matter, including navigating the distribution process and taking

 the steps necessary to attempt to preserve the EB-5 Investors’ rights in the EB-5 program. Mr.

 Seiden and his firm have such skills and experience. Among other things, Mr. Seiden has

 extensive experience acting as a receiver and making distributions both domestically and

 overseas and in securities matters, and his firm has experience with real estate and EB-5-related

 issues. Mr. Seiden’s firm also maintains an office in China, has experience with matters in that

 country, and employs multiple attorneys who are fluent in Mandarin, all of which will be

 valuable in communicating with and answering questions from these particular EB-5 Investors.5

 Should it be necessary for Mr. Seiden to retain third parties—including a firm that handles

 distribution logistics and counsel to advise on the laws currently governing the EB-5 program—

 the Proposed Distribution Administrator Order allows for Mr. Seiden to take the steps necessary

 for such retentions. (Id. ¶ 17.) Mr. Seiden and has firm have agreed to charge a discounted

 government rate in connection with this appointment and all fees and expenses shall be proposed

 to and approved by the Court. (Id. ¶¶ 16, 18-23.)




 5
   Additional details concerning the experience and qualifications of Mr. Seiden and others at his
 firm are set forth in Exhibit D, filed herewith.

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                                            ARGUMENT

 I.     The Settlement Should Be Approved and the Proposed Final Judgment
        Entered.

        The Second Circuit recognizes a “strong federal policy favoring the approval and

 enforcement of consent decrees.” SEC v. Citigroup Glob. Mkts., Inc., 752 F.3d 285, 293-94 (2d

 Cir. 2014). A district court should approve a proposed consent judgment involving the SEC if

 the terms are fair and reasonable and, to the extent the proposed judgment includes injunctive

 relief, the public interest would not be disserved. Id. at 294. In evaluating whether a proposed

 consent judgment is fair and reasonable, a district court should consider four non-exclusive

 factors: (1) the proposed judgment’s basic legality; (2) whether the proposed judgment’s terms

 and enforcement mechanisms are clear; (3) whether the proposed judgment resolves the claims

 in the complaint; and (4) whether the parties have improperly colluded. Id. at 294-95. Finally,

 where, as here, the proposed judgment includes injunctive relief, a district court should consider

 whether the public interest would be disserved by an injunction. Id. at 296-97. All factors weigh

 in favor of the Proposed Final Judgment.

        A.      The Consent and Proposed Final Judgment are Legal.

        The Consent and Proposed Final Judgment are legal in that they are “within the Court’s

 authority to enter [] and within the Plaintiff's authority to enforce [].” United States v. IBM, No.

 14-cv-936 (KMK), 2014 WL 3057960, at *2 (S.D.N.Y. July 7, 2014) (citing Benjamin v.

 Jacobson, 172 F.3d 144, 158 (2d Cir. 1999)). The Consent and Proposed Final Judgment

 provide for injunctive relief, disgorgement and pre-judgment interest, civil money penalties, and

 other equitable relief—all of which are allowed by law.

        The SEC is authorized by statute to seek and obtain injunctive relief. See 15 U.S.C. §

 77t(b) (authorizing the SEC to bring an action in the district court to enjoin violations of the


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 Securities Act of 1933 (“Securities Act”)); 15 U.S.C. § 77t(e) (authorizing the SEC to bring an

 action in the district court to enjoin violations of the Securities Exchange Act of 1934

 (“Exchange Act”)). In an enforcement action, the SEC may also seek disgorgement in an

 amount equal to a “reasonable approximation of profits causally connected to the [securities]

 violation.” SEC v. Contoris, 743 F.3d 296, 305 (2d Cir. 2014). Further, the SEC may seek civil

 penalties to discourage a defendant and others from attempting to engage in unlawful action in

 the future. SEC v. Razmiloc, 738 F.3d 14, 38 (2d Cir. 2013) (citing Securities Act Section 20,

 15 U.S.C. § 77t(d) and Exchange Act Section 21, 15 U.S.C. § 78u(d)(3)). Finally, Exchange Act

 Section 21(d)(5) permits the Court to grant “any equitable relief that may be appropriate or

 necessary for the benefit of investors.” See 15 U.S.C. § 78u(d)(5).

        The $228,500,000 in disgorgement that Defendants have agreed to pay and that is set

 forth in the Consent and Proposed Final Judgment is equal to the amount Defendants obtained

 from the EB-5 Investors (less certain administrative fees Defendants obtained from the EB-5

 Investors and that were paid to third-party agents who recruited investors). This amount is a

 “reasonable approximation” of Defendants’ profits. See Contoris, 743 F.3d at 305. The civil

 money penalties that Xia and Fleet have agreed to pay—$3,101,745 and $15,538,635,

 respectively—are equal to the penalty amounts the Court previously calculated in the P.I.

 Opinion by multiplying the maximum statutory penalty available for third-tier securities law

 violations after November 2, 2015 by the number of months where Defendants received payment

 from investors. See 2022 WL 17539124 at 30 & n.43 (discussing methodologies for calculating

 statutory civil penalties in this matter). All other relief contemplated by the Consent and

 Proposed Final Judgment falls within the Court’s broad power to grant equitable relief.




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        B.      The Consent and Proposed Final Judgment Satisfy the Other Citigroup
                Factors.

        The three remaining Citigroup factors for evaluating fairness and reasonableness of a

 proposed settlement also weigh in favor of approving the Consent and entering the Proposed

 Final Judgment. First, the terms of the Consent and Proposed Final Judgment, including the

 enforcement mechanisms, are clear. Second the Consent and Proposed Final Judgment resolve

 the claims against Fleet, Xia, and Yue. Finally, as the Court is aware, the Consent and Proposed

 Final Judgment were the product of extensive, arms-length negotiation and the Court’s guidance.

 No collusion between the parties, improper or otherwise, has occurred.

        C.      The Consent and Proposed Final Judgment Are in the Public Interest.

        “[T]he job of determining whether the proposed SEC consent decree best serves the

 public interest . . . rests squarely with the SEC, and its decision merits significant deference.”

 Citigroup, 752 F.3d at 296. The Consent and Proposed Final Judgment, including the

 injunctions imposed on Defendants, are in the public interest. Together with the appointment of

 the distribution administrator discussed below, the settlement terms set forth in the Consent and

 Proposed Final Judgment obtain substantial relief for the EB-5 Investors and offer those

 investors the opportunity to be returned the entirety of the money that was fraudulently obtained

 from them and also to attempt to remain in the EB-5 program to continue to pursue permanent

 residency status, if permissible under applicable laws. Additionally, the total monetary relief of

 $272,140,380, plus post-judgment interest, is significant and may deter both Defendants and

 others from engaging in conduct like that alleged here. The Consent and Proposed Final

 Judgment also promote the SEC’s goals of imposing liability on the persons and entities whom

 the SEC believes are responsible for securities law violations, reduce the continued expenditure

 on public funds on lengthy litigation, and provides a prompt and effective response to alleged


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 securities violations that offers a degree of certainty to the EB-5 Investors. These factors, too,

 weigh in favor of the public interest. See IBM, 2014 WL 3057960 at *4. Moreover, nothing in

 the injunctions that bar Fleet from participating in future securities offerings, and that bar Xia

 from future securities offerings with certain limited carveouts, is contrary to the public interest.

        For these reasons, the terms of the Consent should be approved and the Proposed Final

 Judgment entered.

 II.    Robert Seiden Should Be Appointed as Distribution Administrator.

        A distribution administrator is necessary here to implement the distribution process

 negotiated and agreed to by the SEC, Defendants, and Yue. This includes, among other things,

 drafting and proposing a distribution plan permitting the EB-5 Investors to elect to receive a pro

 rata share of funds to be distributed to investors or to attempt to remain in the EB-5 program,

 notifying the EB-5 Investors of their rights under the distribution plan and determining which

 rights under that plan each EB-5 Investor elects to pursue, and taking the steps to effect the EB-5

 Investors’ elections.

        Exchange Act Section 21(d)(5) gives the Court broad powers to grant “any equitable

 relief that may be appropriate or necessary for the benefit of investors,” 15 U.S.C. § 78u(d)(5),

 including the appointment of a distribution administrator to implement the distribution process

 here, see SEC v. American Board of Trade, Inc., 830 F.2d 431, 436 (2d Cir. 1987) (district

 court’s appointment of a trustee or receiver in an SEC action “may be disturbed on appeal only if

 the district court has abused its discretion”); see also SEC v. Malek, 397 Fed. Appx. 711, 713

 (2d Cir. 2010) (noting that the district court’s equitable powers in an SEC enforcement action

 include the ability to appoint a receiver “to restore to . . . defrauded persons that which was

 fraudulently diverted from . . . their custody and control”); SEC v. Arista Power, LLC, No. 17-

 cv-4598 (GHW), 2021 WL 3774316 (S.D.N.Y. Aug. 25, 2021) (appointing firm to develop
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 distribution plan, identify harmed investors, respond to investor inquiries, and make distributions

 to harmed investors).

        For the reasons stated above, supra page 7 and note 5, concerning the expertise and

 experience of Mr. Seiden and his firm with receiverships, distributions, EB-5 and real estate

 issues, and matters in China and involving Chinese persons, he is an appropriate person to

 implement the distribution process here. This includes communicating with the EB-5 Investors,

 informing them of the settlement and their options vis-à-vis the settlement, making distributions

 to EB-5 Investors who choose to receive a pro rata share of the funds to be distributed to

 investors, and taking steps, if possible, to allow for other EB-5 Investors to remain in the EB-5

 Program and to continue to pursue permanent residency status.

        Mr. Seiden is available to appear before the Court to address any questions the Court

 might have regarding his qualifications. If the Court wishes to consider other candidates, the

 SEC will present them upon the Court’s request.

                                          CONCLUSION

        For the foregoing reasons, the SEC respectfully requests that the Court approve the terms

 of the settlement set forth in the Consent, enter the Proposed Final Judgment in the form filed

 herewith as Exhibit B, and enter the Order Appointing a Distribution Administrator in the form

 filed herewith as Exhibit C.




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 Dated: New York, NY
        July 5, 2024

                                            Respectfully submitted,

                                            /s/ Christopher M. Colorado       .
                                            Christopher M. Colorado
                                            David Stoelting
                                            Kim Han
                                            Attorneys for Plaintiff
                                            Securities and Exchange Commission
                                            New York Regional Office
                                            100 Pearl Street, Suite 20-100
                                            New York, NY 10004-2616
                                            212-336-9143 (Colorado)




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